  Case 2:19-cv-00554-RJS   Document 59-2 Filed 11/17/20     PageID.705    Page 1 of
                                        16




2015 News and Updates

   Current News | 2019 | 2018 | 2017 | 2016 | 2015 | 2014 | 2013 | 2012 | 2011 | 2010


The Church Historian’s Press Publishes Final
Installment of Joseph Smith’s Journals
November 30, 2015

The Church Historian’s Press today announced the release of the latest volume of
The Joseph Smith Papers, which chronicles the final months of the life of Joseph
Smith, founder of The Church of Jesus Christ of Latter-day Saints. Journals,
Volume 3: May 1843–June 1844 “captures the complexity of Joseph Smith’s life
and provide a framework for understanding the events of the final year of the
prophet’s life, unmatched by any other single contemporaneous source,” said
volume coeditor Alex D. Smith.

The volume features the conclusion of Joseph Smith’s second Nauvoo journal,
which was kept by scribe Willard Richards. Richards’s handwriting is
idiosyncratic and often hurried, and many entries are brief and cryptic. As a
result, many passages of the journal have been misread and misunderstood. After
several years of painstaking analysis by historians with The Joseph Smith Papers,
many obscure notations are now explained, providing new insight into the final
months of Joseph Smith’s life.

Covering May 1843 through June 1844, this volume illuminates a time that was
both turbulent and incredibly productive for the Mormon prophet. During this
period, Joseph Smith served as the highly visible and determined leader of one of
the largest cities in Illinois and of a church with members spread throughout the
United States and other countries. He balanced roles as church president and
prophet, mayor, judge, and militia leader, all while responding to escalating
conflict.
 Case 2:19-cv-00554-RJS   Document 59-2 Filed 11/17/20 PageID.706 Page 2 of
                                        16
This volume covers topics such as the establishment of an organization called the
Council of Fifty and Joseph Smith’s candidacy for United States president. It also
documents many of Joseph Smith’s sermons on subjects such as salvation,
resurrection, baptism for the dead, priesthood ordinances, a multitiered heaven,
and humanity’s potential to become like God. The journal also offers readers a
glimpse into Smith’s activities concerning the temple, since during this time he
continued to introduce temple ordinances, including eternal and plural marriage
ceremonies, to a growing number of people.

The journal also refers to conspiracies against Joseph Smith’s life. Controversial
teachings, the practice of plural marriage, Smith’s growing political power, and
other factors had led to loud criticism and threats toward Smith and other church
leaders, by both disaffected church members and prominent opponents in
surrounding communities. After Nauvoo civic leaders declared the anti-Mormon
newspaper the Nauvoo Expositor a public nuisance and destroyed its press, Smith
and several of his associates were arrested. On 27 June 1844, a mob swarmed the
jail in Carthage, Illinois, where Joseph Smith and his brother Hyrum were being
held, and killed both men.

Included as appendixes to Journals, Volume 3 are two additional sources—never
before published—that shed light on the final two weeks of Joseph Smith’s life:
an excerpt from Willard Richards’s journal for 23–27 June and an account of
Smith’s 10–22 June activities made by William Clayton. Given these scribes’
proximity to Smith, their records provide invaluable primary source material for
studying the events leading to his death.

Scholar Jonathan A. Stapley writes that this volume “transforms the standards by
which scholars and interested observers access the heart of Joseph Smith’s
documentary record. With a level of professionalism and disclosure that is
pointedly incredible, the editors present the most intimate details of the Mormon
prophet’s personal and religious life with generous contextualization. This work
will be referenced for generations.”

This volume allows readers to study Smith’s daily activities and personality as
well as to better situate him and the faith he founded within nineteenth-century
American history. Aided by comprehensive annotation, this final installment of
  Case 2:19-cv-00554-RJS  Document 59-2 Filed 11/17/20 PageID.707 Page 3 of
                                        16
Joseph Smith’s journals constitutes an essential primary source for research into
his life.

The Joseph Smith Papers, Journals, Volume 3: May 1843–June 1844, edited by Andrew
H. Hedges, Alex D. Smith, and Brent M. Rogers, will be available beginning
November 30, 2015, at Deseret Book, Amazon, and many other retail outlets. Visit
the Purchase section of the Joseph Smith Papers website for more information.


Join Our Twitter Chat for Journals, Volume 3
November 10, 2015

The third and final volume of the Journals series will be published on November
30! On Thursday, December 3, we’ll be hosting a Twitter chat on our Church
History account (@churchhistory) to discuss this new volume.

How to Join

     Join us via Twitter on Thursday, Dec. 3, at 3 p.m. MST.
     Follow @churchhistory on Twitter, and tweet us your questions and
     comments.
     Join the conversation using the hashtag #JSPapers.

Share with us your thoughts about the Joseph Smith Papers Project, and ask our
historians questions about their work. We’ve invited volume editors Alex Smith,
Andrew Hedges and Brent Rogers to share their insights and lead the
conversation.

Be sure you add the hashtag #JSPapers to all of your tweets.

To learn more about Journals, Volume 3: May 1843–June 1844, click here.


New Content on Joseph Smith Papers Website
October 27, 2015

The Joseph Smith Papers Project announces the addition of the following new
content to its website, josephsmithpapers.org:
 Case 2:19-cv-00554-RJS  Document 59-2 Filed 11/17/20 PageID.708 Page 4 of
                                      16
    Nearly one hundred and fifty more documents from 1841, including
    priesthood licenses and land deeds for Nauvoo, Illinois.
    Documents from six legal cases in Ohio in which Joseph Smith was involved.
    Earliest manuscript copy of the revelation on eternal marriage (now D&C
    132).
    Topic page for documents found in the current Pearl of Great Price of the
    Church of Jesus Christ of Latter-day Saints.
    New and updated reference material, including source citations for
    eighteen biographical descriptions.

The Events page has also been redesigned, making navigation easier and aiding
more in-depth research.

Also recently added are documents from ten legal cases from New York and Ohio,
all documents and annotation as published in Documents, Volume
2, and photographs of the printer’s manuscript of the Book of Mormon taken in
1923. In the coming months more documents from the Documents, Journals,
Histories, Revelations and Translations, Administrative Records, and Legal,
Business and Financial Records series will be added. Eventually the website will
contain images and/or transcripts of all extant and available Joseph Smith
papers.


Joseph Smith Papers Project Publishes Printer’s
Manuscript of the Book of Mormon
August 4, 2015

Today, the Joseph Smith Papers Project announced the release of Revelations and
Translations, Volume 3: Printer’s Manuscript of the Book of Mormon, the eleventh
published volume of The Joseph Smith Papers.

This volume features the most complete early text of the Book of Mormon—the
printer’s manuscript. After Joseph Smith dictated the original manuscript of the
Book of Mormon and hired a printer, he had a second copy of the text made, now
known as the printer’s manuscript. The creation of the printer’s manuscript
allowed the original manuscript to be kept safe while the second copy was taken
 Case 2:19-cv-00554-RJS   Document 59-2 Filed 11/17/20 PageID.709 Page 5 of
                                       16
to the Palmyra, New York, print shop of E. B. Grandin, where it was used to set
type for the first edition of the Book of Mormon (1830).

The publication of Revelations and Translations, Volume 3: Printer’s Manuscript of
the Book of Mormon builds on decades of earlier work by volume editor Royal
Skousen and represents a major milestone in the longstanding collaboration
between historians from the Church History Department of The Church of Jesus
Christ of Latter-day Saints and the Community of Christ (formerly Reorganized
Church of Jesus Christ of Latter Day Saints). For more than 100 years, the
Community of Christ has preserved the priceless printer’s manuscript of the
Book of Mormon, and the manuscript appears in this volume with their generous
permission.

This volume is published in two parts, each a full-color, oversized book intended
to showcase this historic manuscript. For the first time ever, each page of the
manuscript is presented as a high-resolution photograph and accompanied by a
color-coded transcript that shows which scribe made each change to the
manuscript. In addition to the photographs and transcripts of the manuscript,
this volume also includes

    a list of scribes and printers involved in the creation of the manuscript and
    the printing of the 1830 edition of the Book of Mormon;
    an extensive chart tracking the use of the manuscript to publish various early
    editions;
    explanatory introductions that track the provenance of the manuscript and
    give the history of Joseph Smith’s translation of the Book of Mormon; and
    never-before-seen photographs of a seer stone Joseph Smith likely used in
    the translation of the Book of Mormon.

An accompanying article on the history of the Book of Mormon translation,
written by Joseph Smith Papers scholars, will appear in the October 2015 issue of
the Ensign, an official periodical of The Church of Jesus Christ of Latter-day
Saints. The article is available online now.

For more information or to purchase the volume, see the Purchase page. A set of
photographs of the printer’s manuscript, taken in 1923, were consulted by the
 Case 2:19-cv-00554-RJS    Document 59-2 Filed 11/17/20 PageID.710 Page 6 of
                                        16
volume editors for the transcripts found in Revelations and Translations, Volume
3. The photographs may be viewed on the Joseph Smith Papers website.


New Content on Joseph Smith Papers Website
July 28, 2015

The Joseph Smith Papers Project announces the inauguration of the Legal,
Business, and Financial Records series on its website, josephsmithpapers.org.
Twenty-eight legal documents are now published on the website, which will
eventually include documents from more than two hundred court cases where
Joseph Smith was plaintiff, defendant, witness, or judge. These cases represent
Joseph Smith’s civil and criminal proceedings in the states of New York,
Pennsylvania, Ohio, Missouri, Illinois, and Iowa. Ecclesiastical court cases
involving Joseph Smith will be featured in the Documents series. The business
and financial records include records and documents detailing Joseph Smith’s
business and financial transactions, such as account books, ledgers, invoices,
receipts, and property transactions.

Case proceedings featured in the Legal, Business, and Financial Records series are
organized by state, the name of the case, and the date the case was filed.
Individual documents are organized chronologically within each case. Business
and financial records with direct ties to case proceedings are grouped with their
associated court cases. Other business and financial records will be featured
chronologically within the Legal, Business, and Financial Records series.

Documents for the following legal cases are now available:

    Hurlbut v. Smith, 6 February 1819
    People v. Smith, 20 March 1826
    State of Ohio v. Hurlbut, 21 December 1833
    Rounds qui tam v. Smith, 10 February 1837
    Lake for the use of Quinn v. Millet et al., 8 July 1837
    Millet for the use of Smith v. Woodstock, 15 July 1837
    Allen v. Smith et al., 3 January 1838
    Wilder and Strong v. Rounds, 16 January 1838
    Spencer v. Cahoon et al., 25 January 1838
  Case 2:19-cv-00554-RJS    Document 59-2 Filed 11/17/20    PageID.711    Page 7 of
                                         16
    Allen v. Granger, 16 August 1837

Additional legal cases involving JS as plaintiff, defendant, witness, or judge are
forthcoming. A large subset of the Legal, Business, and Financial Records series
will be published in print volumes, while the complete series will be published on
this website. As with items in the Documents series, these legal documents are
being published on the web in advance of print publication; introductions and
annotation will be added for these and other cases on the website following their
publication in print. The volume editors of the Legal, Business, and Financial
Records series are Gordon A. Madsen and Jeffrey N. Walker, with Walker as the
series editor.

Also added to the website are all documents and annotation as published in
Documents, Volume 2: July 1831–January 1833. Most of the documents were already
on this website, but now all annotation has been included, as well as
introductions and other reference material.


Joseph Smith Papers Volumes Receive Favorable
Reviews
May 1, 2015

Volumes of The Joseph Smith Papers were recently reviewed in three
publications:

In the Journal of the Early Republic, Kenneth P. Minkema, executive editor of The
Works of Jonathan Edwards and of the Jonathan Edwards Center & Online Archive
at Yale University, reviewed volumes 1 and 2 of the Documents series. He stated,
“Well researched, scrupulously proofread, and expertly annotated, these
volumes, and this edition, will surely stand as the definitive one for many
generations.”

In BYU Studies Quarterly, James B. Allen, an emeritus professor of history at
Brigham Young University and former assistant church historian of The Church
of Jesus Christ of Latter-day Saints, wrote of the Histories series, “The new
Joseph Smith Papers volumes are well worth studying. . . . The painstaking editing
and production ensure complete accuracy, and the editorial introductions provide
insight into the efforts to produce a history of the Church during Joseph Smith’s
 Case 2:19-cv-00554-RJS     Document 59-2 Filed 11/17/20 PageID.712 Page 8 of
                                         16
lifetime. The editors have also provided several valuable study aids. The footnotes
are copious and carefully prepared, providing important explanations and
insights in addition to references to the source material.”

Thomas A. Wayment, associate professor of ancient scripture at Brigham Young
University, wrote in the Religious Educator, “The volumes [of the Joseph Smith
Papers] published so far represent the high-water mark for LDS documentary
editing. . . . The editors should be commended for their painstaking attention to
detail and the overall quality of the publications.”

To read more reviews of the Joseph Smith Papers, visit our Reviews and
Endorsements pages.


New Content on Joseph Smith Papers Website
April 28, 2015

The Joseph Smith Papers Project announces the addition of the following new
content to its website, josephsmithpapers.org:

    Joseph Smith’s accounts of his first vision of Deity, translated into nine
    languages: Chinese, French, German, Italian, Japanese, Korean, Portuguese, Russi
    and Spanish. Links to the original accounts in English are available here.
    Images and transcript of volume D-1 of the Manuscript History of the
    Church; images of volumes E-1 and F-1. All six volumes of this history are
    now on this website. Additionally, hundreds of footnotes have been added to
    volumes A-1 and B-1, pointing readers to the original sources used to
    compile the history.
    All documents and annotation as published in Documents, Volume 1: July
    1828–June 1831. Most of the documents were already on this website, but now
    all annotation has been included, as well as introductions and other
    reference material.
    Sixty-five documents dating from October through December 1840,
    including priesthood licenses and land sales for Nauvoo, Illinois.
    New and updated reference material, including source citations for
    127 biographical descriptions.
  Case 2:19-cv-00554-RJS  Document 59-2 Filed 11/17/20 PageID.713 Page 9 of
                                       16
Also recently added are more than four hundred documents from January
through September 1840, the transcript of the 1835 edition of the Doctrine and
Covenants, and four suggested lesson plans for using the Joseph Smith Papers in
the classroom. In the coming months more documents from the Documents,
Journals, Histories, Revelations and Translations, Administrative Records, and
Legal, Business, and Financial Records series will be added. Eventually the
website will contain images and/or transcripts of all extant and available Joseph
Smith papers.


Joseph Smith Papers Holds Twitter Event #AskJSP
April 27, 2015

On 10 March 2015, four Joseph Smith Papers historians—Matthew C. Godfrey,
Robin Scott Jensen, Spencer W. McBride, and Brent M. Rogers—conducted the
first live question-and-answer session the project has held via Twitter.
Participants tweeted their questions using the hashtag #AskJSP and the
historians answered using the LDS Church History Library’s Twitter account,
@churchhistory.

The event was an effort to connect with followers of the Papers and answer their
questions. “In this digital age, ink, pen, and paper are being replaced by
keyboard, screen, and web interface,” said Robin Scott Jensen, associate
managing historian. “Combining the two worlds brings history to life.”

The event created a surge in engagement on the Church History Twitter account.
“We sent seventy-nine tweets and got engagement from over a thousand
people,” said Laurel Teuscher, the social media producer who organized and
oversaw the session. The tweets reached a record number of individuals for the
account.

Matthew C. Godfrey, who is the JSP’s managing historian, stated, “I was hoping
that this would enable people to get to know the project and our goals a bit better.
I think we accomplished that. All of the questions were very thoughtful.” He
added that the chat was “a great way to engage the general public about the
project and get them excited for what we are producing about Joseph Smith and
early Mormon history.”
 Case 2:19-cv-00554-RJS     Document 59-2   Filed 11/17/20 PageID.714 Page 10 of
                                         16
The event was also significant for the historians involved. Spencer W. McBride,
coeditor of the Documents series, said the event was more than just an
opportunity for the project “to demonstrate the historical value of Joseph
Smith’s papers in an innovative way.” The Twitter chat, he said, “provided me
greater insights into how others view my work. As a historian and writer, gaining
a better understanding of my audience is always a helpful thing.”

To see a transcript of the chat, visit
http://ldschurchhistory.tumblr.com/post/113462094263/joseph-smith-papers-
twitter-chat.


Joseph Smith Papers Contributors Present at
Conference
June 30, 2015

Many contributors to the Joseph Smith Papers presented at the fiftieth annual
conference of the Mormon History Association, held in Provo, Utah, on 4–7 June
2015.

These presentations included the following:

Alexander L. Baugh, “‘I Will Soften the Hearts of the People’: Mormon-Gentile
Relations in Clay County, Missouri, 1833–1839”

Christopher James Blythe, “Martyrdom Canes and Vernacular Mormonism”

Terryl L. Givens, “Joseph Smith and Translation: Notes Toward a Theoretical
Framework”

William G. Hartley, “Captain Edward Bunker and His 1856 Handcart Company”

Andrew H. Hedges, “Joseph Smith, Thomas Ford, and the Third Extradition
Attempt”

Richard L. Jensen, “A Record Keeping Culture? The Rise, Fall, and Partial
Resuscitation of Local Latter-day Saint Historical Records”

Laurie Maffly-Kipp and Reid Neilson, “Legacies of Leonard Arrington”
 Case 2:19-cv-00554-RJS   Document 59-2   Filed 11/17/20 PageID.715 Page 11 of
                                       16
Jeffrey Mahas, “‘Joseph Smith the Proclaimer of Jefferson Democracy, of Free
Trade and Sailors Rights and Protection of Person and Property’: Political
Slogans, American Memory, and the Presidential Election of 1844”

Spencer W. McBride, “The Shattering of American Idealism: The Misplaced
Expectations of the 1839 Mormon Delegation to the Federal Government”

Reid L. Neilson, “Proclaiming the Gospel: Missionary Work and the General
Epistles”

Brent M. Rogers, Shannon Kelly, Elizabeth A. Kuehn, and Christian Heimburger,
“The Unfamiliar Saints: Insights from the Joseph Smith Papers”

R. Eric Smith, “‘We Feel Very Proud of Our Relief Society Building’: The History of
the Newscastle, Utah, Ward Relief Society Hall, 1920–1970”

Charlotte Hansen Terry, “Rhetoric versus Reality: Mormon Women’s Diaries and
Domesticity in the Early Twentieth Century”

Nathan N. Waite, “Having a Great Time, Wish You Were Here: Reporting the First
Years in the Great Salt Lake Valley”

Matthew C. Godfrey, Robin Scott Jensen, Laurie Maffly-Kipp, Brent M. Rogers,
Richard E. Turley Jr., and Grant Underwood chaired sessions during the
conference.

The Mormon History Association was created in 1965 as an affiliate of the
American Historical Association and became a separate organization in 1972. Its
purpose is to encourage understanding and scholarship in the field of Mormon
history.


Sources behind the Manuscript History Identified
June 9, 2015

After years of research, Dean C. Jessee is publishing his research on the creation
of Joseph Smith’s 1838–1856 history (often called the “Manuscript History of the
Church”) online. Jessee has worked with Joseph Smith’s papers for more than
 Case 2:19-cv-00554-RJS    Document 59-2    Filed 11/17/20 PageID.716 Page 12 of
                                         16
forty years. He has served as general editor of the Joseph Smith Papers Project
and is currently a member of the project’s National Advisory Board.

The manuscript history was compiled by several scribes and clerks of the church
—including George W. Robinson, James Mulholland, Robert B. Thompson,
William W. Phelps, Willard Richards, and others—from 1838 to 1856 in an effort
to record the history of Joseph Smith and the church he founded. However, the
primary sources were not always recorded in the history and many have, until
now, remained undocumented. Jessee’s work, which involves identifying primary
sources for the information presented in the history, lends a critical eye to the
text, helping researchers understand its origins and its place within Mormon
historical studies.

Images and transcripts of volumes A-1 through D-1 are currently available on the
Joseph Smith Papers website. Images of volumes E-1 and F-1 are also available on
the site, with transcripts forthcoming. Footnotes containing Jessee’s research
have already been added to the transcripts of volumes A-1 and B-1. We will
continue to publish this work online as it becomes available.


Documents, Volume 3 Honored with Indexing Award
May 15, 2015

The American Society for Indexing has selected Documents, Volume 3 for the 2015
ASI/EIS Award for Publishing Excellence in Indexing.

When evaluating candidates for the award, judges looked for indexes that
“address the text with high standards of index quality and are well-typeset,
providing the user with easy, excellent access to the material in the book.”
Indexes are judged on the following criteria: elegance, usability, coverage,
analysis, access, cross-referencing, accuracy, and style.

The Church Historian’s Press and staff of the Joseph Smith Papers Project are
grateful for the expertise and talent of Kate Mertes, the volume’s indexer, who
created an index that assists readers in accessing the volume’s documents and
annotation.
 Case 2:19-cv-00554-RJS    Document 59-2  Filed 11/17/20 PageID.717 Page 13 of
                                       16
Mertes and a representative from the Church Historian’s Press received the
award at the conference of the American Society for Indexing earlier this month.
At the conference, Mertes remarked, “I am pleased to say that, in working with
the good people at the Church Historian’s Press, I have found a client who is a full
partner in the indexing process, and their input and feedback have been essential
in creating an index I can really be proud of.”

Visit the ASI website to read the full announcement, and visit the volume’s page
to learn more about Documents, Volume 3.


First Vision Accounts Now Available in Ten
Languages
March 25, 2015

Joseph Smith’s firsthand accounts of his first vision of Deity are now available on
josephsmithpapers.org in ten languages. Readers and researchers can now read
these accounts in Chinese, French, German, Italian, Japanese, Korean,
Portuguese, Russian, and Spanish. English transcripts are given side-by-side
with the documents’ images; links to those documents are available here.

This marks the first time the Papers has translated material into non-English
languages. We are pleased to be able to offer these foundational Mormon history
documents to an international audience.


Project Historians Take On New Roles
March 20, 2015

The Joseph Smith Papers recently implemented two noteworthy staff changes.
Managing historian Matthew C. Godfrey has been promoted to general editor,
joining Matthew J. Grow and Ronald K. Esplin in that position. Mark Ashurst-
McGee will assume the role of senior research and review editor, replacing
Richard L. Jensen, who will retire later this year.

Godfrey and Ashurst-McGee have been vital to the success of the Joseph Smith
Papers, and they will continue to benefit the project with their expertise in
history and documentary editing.
 Case 2:19-cv-00554-RJS    Document 59-2   Filed 11/17/20 PageID.718 Page 14 of
                                        16
Full biographies of these historians and the rest of the Joseph Smith Papers team
are available on the Project Team page.


Joseph Smith Papers Now Available as E-books
March 9, 2015

The Joseph Smith Papers recently made previously published volumes available
in a more accessible, electronic format.

Documents, volumes 1, 2, and 3; Histories, volumes 1 and 2; and Journals, volumes 1
and 2 are now available on Amazon and Deseret Bookshelf as e-books.
Forthcoming volumes will be released in both print and electronic format.


New Content on Joseph Smith Papers Website
February 13, 2015

The Joseph Smith Papers Project announces the addition of the following new
content to its website, josephsmithpapers.org:

    Transcript of the 1835 edition of the Doctrine and Covenants.
    Nearly two hundred documents dating from April through September 1840,
    including priesthood licenses and land sales for what would become Nauvoo,
    Illinois.
    Images for Parley P. Pratt’s Late Persecution of the Church of Jesus Christ, of
    Latter Day Saints. This is the second edition of Pratt’s History of the Late
    Persecution Inflicted by the State of Missouri upon the Mormons.
    Introduction to the Draft Notes to the Manuscript History of the Church.
    Four suggested lesson plans for using the Joseph Smith Papers in the
    classroom.
    New and updated reference material, including source citations for
    fifteen biographical descriptions and sixteen new and updated glossary
    entries.




Also recently added are more than two hundred documents from January through
March 1840, images for the Book of the Law of the Lord, and updates to
 Case 2:19-cv-00554-RJS    Document 59-2 Filed 11/17/20 PageID.719 Page 15 of
                                      16
the Calendar of Documents. In the coming months more documents from the
Documents, Journals, Histories, Revelations and Translations, Legal and
Business Records, and Administrative Records series will be added. Eventually
the website will contain images and/or transcripts of all extant and available
Joseph Smith papers.


Collaboration with FamilySearch Connects Readers
and Ancestors
January 7, 2015

The Joseph Smith Papers has collaborated with FamilySearch to identify living
descendants of the more than six hundred individuals identified in the
documents published on our website thus far. The purpose of the partnership is
to help those descendants access documents, stories, and additional information
about their ancestors found on josephsmithpapers.org.

“Though the primary audience for the Joseph Smith Papers is scholars,” said Ben
Godfrey, product manager for the Joseph Smith Papers website, “an important
secondary audience includes members of The Church of Jesus Christ of Latter-
day Saints who have an interest in the church’s history. This collaboration with
FamilySearch helps us reach members of this important audience.” The effort
will also serve people who are interested in their family history and who are not
members of The Church of Jesus Christ of Latter-day Saints.

So far the effort has reached roughly 250,000 people, and it is expected to reach
500,000 descendants in all. The project is already seeing results; the first phase
of the campaign generated the most visits and unique visitors to the site on a
single day since the Joseph Smith Papers site was launched.

Read the press release from FamilySearch or click here to see if your ancestors
have been identified in the Joseph Smith Papers.
  Case 2:19-cv-00554-RJS              Document 59-2           Filed 11/17/20       PageID.720         Page 16 of
                                                         16

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